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 1                                                          HONORABLE ROBERT S. LASNIK

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 7                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
 8                                     AT SEATTLE

 9 CHARLOTTE WINELAND, Individually and
   SUSAN WINELAND, as Personal                       NO. 2:19-cv-00793-RSL
10 Representative of the Estate of JOHN DALE
   WINELAND, Deceased                                DEFENDANT MILWAUKEE VALVE
11                                                   COMPANY, INC.’S NOTICE OF
                                 Plaintiffs,         SETTLEMENT AND STRIKING
12                                                   MOTION FOR SUMMARY JUDGMENT
           vs.
13
   AIR & LIQUID SYSTEMS CORPORATION,
14 et al.,

15                               Defendants.
16

17         Defendant Milwaukee Valve Company, Inc. hereby provides notice that it has reached

18 agreement to resolve this matter with Plaintiffs. This does not affect any claims by Plaintiffs

19 against any other defendants. Accordingly, Milwaukee Valve Company, Inc. strikes its Motion

20 for Summary Judgment (Dkt #329) noted for consideration on September 25, 2020.

21         DATED this 8th day of March, 2021.         GORDON REES SCULY
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 1                                  CERTIFICATE OF SERVICE

 2           I certify under the penalty of perjury under the laws of the State of Washington that on
 3   this date I filed a copy of the foregoing document with the Clerk of the Court with the
     CM/ECF system, which serve all counsel of record via email, addressed as follows:
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